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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                  §
    In re:                                                            Chapter 11
                                                                  §
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              Case No. 19-34054-sgj11
                                                                  §
                                                                  §
                                     Debtor.
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                  §
                                     Plaintiff,                   §   Adversary Proceeding No.
                                                                  §
    vs.                                                           §   21-03007
                                                                  §
    HCRE PARTERS, LLC (N/K/A/ NEXPOINT                            §
    REAL ESTATE PARTNERS, LLC), JAMES                             §
    DONDERO, NANCY DONDERO, AND THE                               §
    DUGABOY INVESTMENT TRUST

                                     Defendants.


1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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              AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
      (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                        BREACH OF FIDUCIARY DUTY

                 Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

“Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

“Complaint”) against defendants HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC)

(“HCRE”), James Dondero (“Mr. Dondero”), Nancy Dondero (“Ms. Dondero”), and The Dugaboy

Investment Trust (“Dugaboy” and together with HCRE, Mr. Dondero, and Ms. Dondero, the

“Defendants”), alleges upon knowledge of its own actions and upon information and belief as to

other matters as follows:

                                    PRELIMINARY STATEMENT

                 1.         The Debtor brings this action against Defendants in connection with

HCRE’s defaults under (i) four demand notes, in the aggregate principal amount of $4,250,000,

and payable upon the Debtor’s demand, and (ii) one term note, in the aggregate principal amount

of $6,059,831.51, payable in the event of default, all executed by HCRE in favor of the Debtor.

HCRE has failed to pay amounts due and owing under the notes and the accrued but unpaid interest

thereon.

                 2.         In paragraph 58 of HCRE’s First Amended Answer to Plaintiff’s Complaint

[Docket No. 34], HCMS contends that the Debtor orally agreed to relieve it of the obligations

under the Notes (as defined below) upon fulfillment of “conditions subsequent” (the “Alleged

Agreement”). HCRE further contends that the Alleged Agreement was entered into between

James Dondero and his sister, Nancy Dondero, as representative of a majority of the Class A



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shareholders of the Plaintiff, including Dugaboy (the “Representative”), acting on behalf of the

Debtor. At the time Mr. Dondero entered into the Alleged Agreement on behalf of HCRE, he

controlled both HCRE and the Debtor and was the lifetime beneficiary of Dugaboy.

                 3.         Based on its books and records, discovery to date, and other facts, the

Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

under the Notes.

                 4.         Nevertheless, the Debtor amends its Complaint to add certain claims and

name additional parties who would be liable to the Debtor if the Alleged Agreement were

determined to exist and be enforceable. Specifically, in addition to pursuing claims against HCMS

for breach of its obligations under the Notes and for turnover, the Debtor adds alternative claims

(a) against HCMS for actual fraudulent transfer and aiding and abetting Dugaboy in its breach of

fiduciary duty, (b) against Dugaboy for declaratory relief and for breach of fiduciary duty, and (c)

against Nancy Dondero for aiding and abetting Dugaboy in the breach of his fiduciary duties.

                 5.         As remedies, the Debtor seeks (a) damages from HCRE in an amount equal

to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii) all

accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

as provided for in the notes), for HCRE’s breach of its obligations under the Notes, and (b) turnover

by HCRE to the Debtor of the foregoing amounts; (c) avoidance of the Alleged Agreement and

the transfers thereunder and recovery of the funds transferred from the Plaintiff to, or for the benefit

of, HCRE pursuant to the Notes; (d) declaratory relief, and (e) damages arising from the

Defendants’ breach of fiduciary duties or aiding and abetting thereof.



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                                     JURISDICTION AND VENUE

                 6.         This adversary proceeding arises in and relates to the Debtor’s case pending

before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

“Court”) under chapter 11 of the Bankruptcy Code.

                 7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334.

                 8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

order by the Court in the event that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                 9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              THE PARTIES

                 10.        The Debtor is a limited liability partnership formed under the laws of

Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                 11.        Upon information and belief, HCRE is a limited liability company with

offices located in Dallas, Texas, and is organized under the laws of the state of Delaware.

                 12.        Upon information and belief, Mr. Dondero is an individual residing in

Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

controlled HCRE; Mr. Dondero also controlled the Debtor until January 9, 2020.

                 13.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.



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                    14.     Upon information and belief, Nancy Dondero is an individual residing in

the state of Florida and who is Mr. Dondero’s sister, and a trustee of Dugaboy.

                                            CASE BACKGROUND

                    15.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                    16.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

Capital Management GP LLC (collectively, “Acis”).

                    17.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

Redeemer had resigned from the Committee.

                    18.     On December 4, 2019, the Delaware Court entered an order transferring

venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                    19.     The Debtor has continued in the possession of its property and has

continued to operate and manage its business as a debtor-in-possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

chapter 11 case.




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    All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                                       STATEMENT OF FACTS

A.      The HCRE Demand Notes

                 20.        HCRE is the maker under a series of demand notes in favor of the Debtor.

                 21.        Specifically, on November 27, 2013, HCRE executed a demand note in

favor of the Debtor, as payee, in the original principal amount of $100,000 (“HCRE’s First

Demand Note”). A true and correct copy of HCRE’s First Demand Note is attached hereto as

Exhibit 1.

                 22.        On October 12, 2017, HCRE executed a demand note in favor of the Debtor,

as payee, in the original principal amount of $2,500,000 (“HCRE’s Second Demand Note”). A

true and correct copy of HCRE’s Second Demand Note is attached hereto as Exhibit 2.

                 23.        On October 15, 2018, 2017, HCRE executed a demand note in favor of the

Debtor, as payee, in the original principal amount of $750,000 (“HCRE’s Third Demand Note”).

A true and correct copy of HCRE’s Third Demand Note is attached hereto as Exhibit 3

                 24.        On September 25, 2019, HCRE executed a demand note in favor of the

Debtor, as payee, in the original principal amount of $900,000 (“HCRE’s Fourth Demand Note,”

and collectively, with HCRE’s First Demand Note, HCRE’s Second Demand Note, and HCRE’s

Third Demand Note, the “Demand Notes”). A true and correct copy of HCRE’s Fourth Demand

Note is attached hereto as Exhibit 4.

                 25.        Section 2 of the Demand Notes provide: “Payment of Principal and

Interest. The accrued interest and principal of this Note shall be due and payable on demand of

the Payee.”

                 26.        Section 4 of the Demand Notes provide:

                 Acceleration Upon Default. Failure to pay this Note or any installment
                 hereunder as it becomes due shall, at the election of the holder hereof,
                 without notice, demand, presentment, notice of intent to accelerate, notice

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                 of acceleration, or any other notice of any kind which are hereby waived,
                 mature the principal of this Note and all interest then accrued, if any, and
                 the same shall at once become due and payable and subject to those
                 remedies of the holder hereof. No failure or delay on the part of the Payee
                 in exercising any right, power, or privilege hereunder shall operate as a
                 waiver hereof.

                 27.        Section 6 of the Demand Notes provide:

                 Attorneys’ Fees. If this Note is not paid at maturity (whether by
                 acceleration or otherwise) and is placed in the hands of an attorney for
                 collection, or if it is collected through a bankruptcy court or any other court
                 after maturity, the Maker shall pay, in addition to all other amounts owing
                 hereunder, all actual expenses of collection, all court costs and reasonable
                 attorneys’ fees and expenses incurred by the holder hereof.

B.      HCRE’s Defaults Under Each Demand Note

                 28.        By letter dated December 3, 2020, the Debtor made demand on HCRE for

payment of the Demand Note Repayment Amount by December 11, 2020 (the “Demand

Letter”). A true and correct copy of the Demand Letter is attached hereto as Exhibit 5. The

Demand Letter provides:

                 By this letter, Payee is demanding payment of the accrued interest and principal
                 due and payable on the Notes in the aggregate amount of $5,012,260.96, which
                 represents all accrued interest and principal through and including December 11,
                 2020.

                 Payment is due on December 11, 2020, and failure to make payment in full
                 on such date will constitute an event of default under the Notes.

Demand Letter (emphasis in the original).

                 29.        Despite the Debtor’s demand, HCRE did not pay all or any portion of the

amount demanded by the Debtor on December 11, 2020, or at any time thereafter.

                 30.        As of December 11, 2020, there was an outstanding principal amount of

$171,542 on HCRE’s First Demand Note and accrued but unpaid interest in the amount of $526.10,

resulting in a total outstanding amount as of that date of $172,068.10.



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                 31.        As of December 11, 2020, there was an outstanding principal balance of

$3,149,919.12 on HCRE’s Second Demand Note and accrued but unpaid interest in the amount of

$41,423.60, resulting in a total outstanding amount as of that date of $3,191,342.72.

                 32.        As of December 11, 2020, there was an outstanding principal balance of

$874,977.53 on HCRE’s Third Demand Note and accrued but unpaid interest in the amount of

$10,931.23, resulting in a total outstanding amount as of that date of $885,908.76.

                 33.        As of December 11, 2020, there was an outstanding principal balance of

$750,279.14 on HCRE’s Fourth Demand Note and accrued but unpaid interest in the amount of

$12,662.24, resulting in a total outstanding amount as of that date of $762,941.38.

                 34.        Thus, as of December 11, 2020, the total outstanding principal and accrued

but unpaid interest due under the Demand Notes was $5,012,260.96.

                 35.        Pursuant to Section 4 of each Note, each Note is in default, and is currently

due and payable.

C.      The HCRE Term Note

                 36.        HCRE is the maker under a term note in favor of the Debtor.

                 37.        Specifically, on May 31, 2017, HCRE executed a term note in favor of the

Debtor, as payee, in the original principal amount of $6,059,831 (the “Term Note,” and together

with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is attached hereto

as Exhibit 6.

                 38.        Section 2 of the Term Note provides: “Payment of Principal and

Interest. Principal and interest under this Note shall be due and payable as follows:

                 2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay
                 the outstanding principal amount of the Note (and all unpaid accrued interest
                 through the date of each such payment) in thirty (30) equal annual payments (the
                 “Annual Installment”) until the Note is paid in full. Borrower shall pay the Annual
                 Installment on the 31st day of December of each calendar year during the term of

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                 this Note, commencing on the first such date to occur after the date of execution of
                 this note.

                 2.2    Final Payment Date. The final payment in the aggregate amount of the
                 then outstanding and unpaid Note, together with all accrued and unpaid interest
                 thereon, shall become immediately due and payable in full on December 31, 2047
                 (the “Maturity Date”).

                 39.        Section 3 of the Term Note provides:

                 Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
                 whole or in part the unpaid principal or accrued interest of this Note. Any
                 payments on this Note shall be applied first to unpaid accrued interest hereon, and
                 then to unpaid principal hereof.

                 40.        Section 4 of the Term Note provides:

                 Acceleration Upon Default. Failure to pay this Note or any installment
                 hereunder as it becomes due shall, at the election of the holder hereof,
                 without notice, demand, presentment, notice of intent to accelerate, notice
                 of acceleration, or any other notice of any kind which are hereby waived,
                 mature the principal of this Note and all interest then accrued, if any, and
                 the same shall at once become due and payable and subject to those
                 remedies of the holder hereof. No failure or delay on the part of the Payee
                 in exercising any right, power, or privilege hereunder shall operate as a
                 waiver hereof.

                 41.        Section 6 of the Term Note provides:

                 Attorneys’ Fees. If this Note is not paid at maturity (whether by
                 acceleration or otherwise) and is placed in the hands of an attorney for
                 collection, or if it is collected through a bankruptcy court or any other court
                 after maturity, the Maker shall pay, in addition to all other amounts owing
                 hereunder, all actual expenses of collection, all court costs and reasonable
                 attorneys’ fees and expenses incurred by the holder hereof.

D.      HCRE’s Default Under the Term Note

                 42.        HCRE failed to make the payment due under the Term Note on December

31, 2020.

                 43.        By letter dated January 7, 2021, the Debtor made demand on HCRE for

immediate payment under the Term Note (the “Second Demand Letter”). A true and correct copy

of the Second Demand Letter is attached hereto as Exhibit 7. The Demand Letter provides:

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                 Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
                 the Note, all principal, interest, and any other amounts due on the Note are
                 immediately due and payable. The amount due and payable on the Note as of
                 January 8, 2021 is $6,145,466.84; however, interest continues to accrue under the
                 Note.

                 The Term Note is in default, and payment is due immediately.

Second Demand Letter (emphasis in the original).

                 44.        Despite the Debtor’s demands, HCRE did not pay the amount demanded

by the debtor on January 7, 2021, or at any time thereafter.

                 45.        As of January 8, 2021, the total outstanding principal and accrued but

unpaid interest under the Term Note was 6,145,466.84.

                 46.        Pursuant to Section 4 of the Term Note, the Note is in default, and is

currently due and payable.

E.      The Debtor Files the Original Complaint

                 47.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

HCRE’s breach of its obligations under the Notes and (ii) turnover by HCRE for the outstanding

amounts under the Notes, plus all accrued and unpaid interest until the date of payment plus the

Debtor’s costs of collection and reasonable attorney’s fees.

F.      HCRE’s Affirmative Defenses

                 48.        On March 13, 2021, HCMS filed Highland Capital Management Services,

Inc.’s Answer to Plaintiff’s Complaint [Docket No. 6] (the “Original Answer”). In its Original

Answer, HCMS asserted four affirmative defenses: (i) the claims are barred in whole or in part

under the doctrines of justification or repudiation, (ii) waiver, (iii) estoppel, and (iv) offset and/or

setoff (the “Setoff Defense”). See id. ¶¶ 55-58.

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                 49.        On June 11, 2021, HCRE filed its First Amended Answer to Plaintiff’s

Complaint [Docket No. 34] (the “Amended Answer”), that omitted the Setoff Defense but asserted

two affirmative defenses: (i) the Debtor previously agreed that it would not collect on the Notes

“upon fulfillment of conditions subsequent” (i.e., the Alleged Agreement) id. ¶ 58, and (ii) the

Notes are “ambiguous,” id. ¶ 59.

                 50.        According to HCRE, the Alleged Agreement was orally entered into

“sometime between December of the year each note was made and February of the following

year.”

                 51.        According to HCRE, Mr. Dondero, acting on its behalf, entered into the

Alleged Agreement with his sister, Nancy Dondero, acting as the Representative.

                 52.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

Agreement on behalf of HCRE.

                 53.        Upon information and belief, the Debtor’s books and records do not reflect

the Alleged Agreement.

G.       Dugaboy Lacked Authority to Act on Behalf of the Debtor

                 54.        Under section 4.2 of the Fourth Amended and Restated Agreement of

Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

Agreement”), and attached hereto as Exhibit 8, Dugaboy was not authorized to enter into the

Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

“Partnership” is defined in the Limited Partnership Agreement).

                 55.        Section 4.2(b) of the Limited Partnership Agreement states:

                 Management of Business. No Limited Partner shall take part in the control (within
                 the meaning of the Delaware Act) of the Partnership’s business, transact any
                 business in the Partnership’s name, or have the power to sign documents for or
                 otherwise bind the Partnership other than as specifically set forth in this Agreement.


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Exhibit 8, § 4.2(b).

                 56.        No provision in the Limited Partnership Agreement authorizes any of the

Partnership’s limited partners to bind the Partnership.

                 57.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

or to otherwise bind the Debtor.

                                      FIRST CLAIM FOR RELIEF
                                           (Against HCRE)

                                         (For Breach of Contract)

                 58.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 59.        Each Note is a binding and enforceable contract.

                 60.        HCRE breached each Demand Note by failing to pay all amounts due to the

Debtor upon the Debtor’s demand.

                 61.        HCRE breached the Term Note by failing to pay all amounts due to the

Debtor upon HCRE’s default and acceleration.

                 62.        Pursuant to each Note, the Debtor is entitled to damages from HCRE in an

amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued

and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

costs of collection (including all court costs and reasonable attorneys’ fees and expenses), for

HCRE’s breach of its obligations under each of the Notes.

                 63.        As a direct and proximate cause of HCRE’s breach of each Demand Note,

the Debtor has suffered damages in the amount of at least $5,012,260.96, as of December 11,

2020, plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s

cost of collection.


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                 64.        As a direct and proximate cause of HCRE’s breach of the Term Note, the

Debtor has suffered damages in the amount of at least $6,145,466.84, as of January 8, 2021, plus

an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

collection.

                                SECOND CLAIM FOR RELIEF
                                       (Against HCRE)
                        (Turnover by HCRE Pursuant to 11 U.S.C. § 542(b))

                 65.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 66.        HCRE owes the Debtor an amount equal to (i) the aggregate outstanding

principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

costs and reasonable attorneys’ fees and expenses), for HCRE’s breach of its obligations under

each of the Notes

                 67.        Each Demand Note is property of the Debtor’s estate and the amounts due

under each Demand Note is matured and payable upon demand.

                 68.        The Term Note is property of the Debtor’s estate and the amounts due

under the Term Note is matured and payable upon default and acceleration.

                 69.        The Debtor has made demand for turnover of the amounts due under each

of the Notes.

                 70.        As of the date of filing this Complaint, HCRE has not turned over to the

Debtor all or any of the amounts due under each of the Notes.

                 71.        The Debtor is entitled to the turnover of all amounts due under each of the

Notes.



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                            THIRD CLAIM FOR RELIEF
                                   (Against HCRE)
 (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                      and 550)

                 72.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 73.        The Debtor made the transfers pursuant to the Alleged Agreement within

two years of the Petition Date.

                 74.        Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with

actual intent to hinder, delay, or defraud a present or future creditor, demonstrated by, inter alia:

                 (a) The transfers were made to, or for the benefit of, HCRE, an insider of the

                       Debtor.

                 (b) Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with his

                       sister, Nancy Dondero.

                 (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                       Alleged Agreement.

                 (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                 (e) The Alleged Agreement was not subject to negotiation.

                 (f) The value of the consideration received by the Debtor for the transfers was not

                       reasonably equivalent in value.

                 75.        The pattern of conduct, series of transactions, and general chronology of

events under inquiry in connection with the debt HCRE incurred under the Notes demonstrates a

scheme of fraud.

                 76.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCRE.


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                  77.       Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

Agreement and the transfer thereunder, and (ii) recovering from HCRE an amount equal to all

obligations remaining under the Notes.

                           FOURTH CLAIM FOR RELIEF
                                   (Against HCRE)
  (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                     550, and Tex. Bus. & C. Code § 24.005(a)(1))

                  78.       The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                  79.       The Debtor made the transfers pursuant to the Alleged Agreement after, or

within a reasonable time before, creditors’ claims arose.

                  80.       Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with

actual intent to hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated

by, inter alia:

                  (g) The transfers were made to, or for the benefit of, HCRE, an insider of the

                        Debtor.

                  (h) Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with his

                        sister, Nancy Dondero.

                  (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                        Alleged Agreement.

                  (j) Upon information and belief, the Debtor’s books and record do not reflect the

                        Alleged Agreement.

                  (k) The Alleged Agreement was not subject to negotiation.

                  (l) The value of the consideration received by the Debtor for the transfers was not

                        reasonably equivalent in value.


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                 81.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCRE.

                 82.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

Agreement and the transfer thereunder, and (ii) recovering from HCRE an amount equal to all

obligations remaining under the Notes.


                                FIFTH CLAIM FOR RELIEF
                            (Against Dugaboy and Ms. Dondero)
           (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                 83.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 84.        A bona fide, actual, present dispute exists between the Debtor, on the one

hand, and Dugaboy and Ms. Dondero on the other hand, concerning whether Dugaboy and/or Ms.

Dondero, acting as the Representative, were authorized to enter into the Alleged Agreement on the

Debtor’s behalf.

                 85.        A judgment declaring the parties’ respective rights and obligations will

resolve their dispute.

                 86.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

declarations that:

                 •     (a) limited partners, including but not limited to Dugaboy, have no right or

                       authority to take part in the control (within the meaning of the Delaware Act)

                       of the Partnership’s business, transact any business in the Partnership’s name,

                       or have the power to sign documents for or otherwise bind the Partnership other

                       than as specifically provided in the Limited Partnership Agreement,




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                 •     (b) neither Dugaboy nor Ms. Dondero (whether individually or as

                       Representative) was authorized under the Limited Partnership Agreement to

                       enter into the Alleged Agreement on behalf of the Partnership,

                 •     (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                       Representative) otherwise had any right or authority to enter into the Alleged

                       Agreement on behalf of the Partnership, and

                 •     (d) the Alleged Agreement is null and void.

                                    SIXTH CLAIM FOR RELIEF
                                  (Against Dugaboy and Ms. Dondero)
                                      (Breach of Fiduciary Duty)

                 87.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 88.        If Dugaboy, as a limited partner, or Ms. Dondero, as Representative, had

the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or

Ms. Dondero would owe the Debtor a fiduciary duty.

                 89.        If Dugaboy or Ms. Dondero (as Representative) had the authority to enter

into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or Ms. Dondero breached

their fiduciary duty of care to the Debtor by entering into and authorizing the purported Alleged

Agreement on behalf of the Debtor.

                 90.        Accordingly, the Debtor is entitled to recover from Dugaboy and Ms.

Dondero (a) actual damages that the Debtor suffered as a result of their breach of fiduciary duty,

and (b) for punitive and exemplary damages.




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                                   SEVENTH CLAIM FOR RELIEF
                              (Against James Dondero and Nancy Dondero)
                            (Aiding and Abetting a Breach of Fiduciary Duty)

                 91.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 92.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                 93.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                 94.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                 95.        Accordingly, the Donderos are jointly and severally liable (a) for the

actual damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of

fiduciary duties, and (b) for punitive and exemplary damages.

                 WHEREFORE, the Debtor prays for judgment as follows:

                 (i)        On its First Claim for Relief, damages in an amount to be determined at

                 trial but includes (a) the aggregate outstanding principal due under each Note,

                 plus (b) all accrued and unpaid interest thereon until the date of payment, plus (c)

                 an amount equal to the Debtor’s cost of collection (including all court costs and

                 reasonable attorneys’ fees and expenses);

                 (ii)       On its Second Claim for Relief, ordering turnover by HCRE to the Debtor

                 of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                 accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                 equal to the Debtor’s cost of collection (including all court costs and reasonable

                 attorneys’ fees and expenses);

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                 (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreement and the

                 transfers thereunder pursuant to the Alleged Agreement arising from actual

                 fraudulent transfer under section 548 of the Bankruptcy Code;

                 (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                 transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                 fraudulent transfer under Tex. Bus. & C. Code § 24.005(a)(1);

                 (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                 including but not limited to Dugaboy, have no right or authority to take part in the

                 control (within the meaning of the Delaware Act) of the Partnership’s business,

                 transact any business in the Partnership’s name, or have the power to sign

                 documents for or otherwise bind the Partnership other than as specifically provided

                 in the Limited Partnership Agreement, (b) neither Dugaboy nor Ms. Dondero

                 (whether individually or as Representative) was authorized under the Limited

                 Partnership Agreement to enter into the Alleged Agreement on behalf of the

                 Partnership, (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                 Representative) otherwise had any right or authority to enter into the Alleged

                 Agreement on behalf of the Partnership, and (d) the Alleged Agreement is null and

                 void;

                 (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy and Ms.

                 Dondero, in an amount to be determined at trial, that Debtor suffered as a result of

                 their breach of fiduciary duty, and for punitive and exemplary damages;

                 (vii)      On its Seventh Claim for Relief, actual damages from the Donderos,

                 jointly and severally, in an amount to be determined at trial, that Debtor suffered



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                 as a result of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for

                 punitive and exemplary damages; and

                 (iii)      Such other and further relief as this Court deems just and proper.



 Dated: As of July 13, 2021.                    PACHULSKI STANG ZIEHL & JONES LLP
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